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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   IN RE: MICHAEL J. POLLACK AND                  :
   ELAINE G. POLLACK                              :      CHAPTER 7
                                                  :
   NATIONSTAR MORTGAGE LLC                       :
   D/B/A MR. COOPER                              :
   Creditor/Movant                               :
                                                 :       No. 17-18146-amc
          vs.                                    :
                                                 :
   MICHAEL J. POLLACK                            :
   AND                                           :
   ELAINE G. POLLACK                             :
        Debtors                                  :
                                                 :
          and                                    :
                                                 :
   GARY F. SEITZ                                 :
         Trustee                                 :

             STIPULATION RESOLVING TRUSTEE'S OBJECTION
     TO NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER'S MOTION FOR
                              RELIEF

          Gary F. Seitz, the Chapter 7 trustee (the "Trustee") for the estates of Michael J.

   Pollack and Elaine G. Pollack and NATIONSTAR MORTGAGE LLC D/B/A MR.

   COOPER ("Cooper")(collectively, the "Parties"), by and through their undersigned

   counsel, hereby enter into this stipulation (the "Stipulation"), and agree as follows:

                                           RECITALS

          WHEREAS, on December 4, 2017, Debtors filed a voluntary petition under

   Chapter 7 of Title 11 of the United States Code;

          WHEREAS, Cooper holds a first mortgage ("Cooper Mortgage") against Debtors'

   residence located at 2089 N. Line Street, Lansdale, Pa ("Line Street");




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          WHEREAS, on or about January 11, 2018, Cooper filed a Motion for Relief from

   the Automatic Stay (the "Motion") in order to proceed with a foreclosure action against

   the Line Street property;

          WHEREAS, the Trustee has filed an objection (the "Objection") to Cooper's

   Motion;

          WHEREAS, the Parties have now reached an agreement resolving the Objection

   and the relief requested in the Motion;

          NOW, THEREFORE, the Parties, intending to be legally bound hereby stipulate

   and agree as follows:

                                         AGREEMENT

          1.)     The Trustee shall have until July 8, 2018 to enter into an Agreement of

   Sale (the "Agreement of Sale") to sell the Line Street property.

          2.)     In the event the Trustee fails to deliver a fully executed copy of the

   Agreement of Sale to Cooper's attorney via e-mail by 11:59 PM on July 8, 2018, Cooper

   may file a Certification of Default of this Stipulation with the Court and the Court shall

   enter an Order granting Cooper relief from the automatic stay without further hearing.

          3.)     In the event the Trustee enters into an Agreement of Sale prior to any

   future sheriff's sale of the Line Street property, Cooper agrees to consider accepting the

   proceeds of the proposed sale in lieu of proceeding with the sheriff's sale. Cooper,

   however, has the right to reject the proceeds from the proposed sale if Cooper, in his sole

   discretion, determines that the proceeds are insufficient.




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            4.)    This Stipulation may be executed in counterparts and may be delivered by

    e-mail. Any copy so executed and delivered (including delivery by e-mail), when taken

    with another executed copy, shall be considered and deemed an original hereof.

            AGREED TO THIS ______ DAY OF MARCH, 2018.

                                                       /s/ Kevin McDonald
                                                       Kevin McDonald, Esquire
                                                       Attorney for NATIONSTAR MORTGAGE
                                                       LLC D/B/A MR. COOPER

                                                      /s/ Holly S. Miller    _____
                                                       Holly S. Miller, Esquire
                                                       Attorney for Gary F. Seitz,
                                                       Chapter 7 Trustee


                             16th           April
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